                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 1 of 23 Page ID #:73



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                                                                                                   UNITED STATES DISTRICT COURT
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                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
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                                                                              FRANCIS SHAY, SANDRA SHAY,               CASE NO.: 2:20-CV-04064-RGK-SK
                                                                         12 BRUCE GRANT and MICHELLE
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                                                                         13
                                                                              GRANT,                                   DEFENDANT PRINCESS CRUISE
                                   ENCINITAS, CA 92024




                                                                                                                       LINE LTD.’S MOTION TO DISMISS
                                                                         14               Plaintiffs,
                                                                              vs.
                                                                         15
                                                                              PRINCESS CRUISE LINES, LTD.,             Date: July 27, 2020
                                                                         16                                            Time: 9:00 a.m.
                                                                                                                       Judge: Hon. R. Gary Klausner
                                                                         17               Defendant.                   Courtroom: 850
                                                                         18
                                                                                                                       Magistrate: Hon. Steve Kim
                                                                         19                                            Filed: 05/04/2020
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                                                                              DEFENDANT’S MOTION TO DISMISS                                2:20-CV-04064-RGK-SK
                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 2 of 23 Page ID #:74



                                                                          1                                        TABLE OF CONTENTS
                                                                          2 I.      INTRODUCTION ............................................................................................. 1
                                                                          3 II.     LEGAL STANDARD ....................................................................................... 6
                                                                          4 III.    MEMORANDUM OF LAW ............................................................................ 6
                                                                          5         A.      Federal Maritime Law Applies to Plaintiffs’ Claims.............................. 7
                                                                          6         B.      Plaintiffs Cannot Recover for Emotional Distress .................................. 7
                                                                          7                 1.       Plaintiffs Francis Shay and Sandra Shay’s Allegations Do
                                                                                                     Not Satisfy the Zone of Danger Test .......................................... 7
                                                                          8
                                                                                            2.       To Recover for Emotional Distress Plaintiffs Bruce Grant
                                                                          9                          and Michelle Grant Must Allege Symptoms ........................... 12
                                                                         10                 3.       To Recover for Emotional Distress All Plaintiffs Must
                                                                                                     Plausibly      Allege a Physical Manifestation of the
MALTZMAN & PARTNERS




                                                                         11                          Claimed Distress ......................................................................... 12
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                         12         C.      Plaintiffs Cannot Recover for Fear or Even a Mere Diagnosis,
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                                            Without More, as a “Physical Harm” ................................................... 14
                                                                         13
                                   ENCINITAS, CA 92024




                                                                                    D.      Plaintiffs Have Not Plausibly Alleged Causation ................................. 15
                                                                         14
                                                                                    E.      Finding Plaintiffs’ Claims Sufficient Would Invite the Exact
                                                                         15                 Policy Consequences the Supreme Court Cautioned Against .............. 16
                                                                         16         F.      Plaintiffs’ Claims for Punitive Damages Are Foreclosed as a
                                                                                            Matter of Law and Should be Dismissed or Stricken ........................... 17
                                                                         17
                                                                              V.    CONCLUSION ............................................................................................... 19
                                                                         18

                                                                         19

                                                                         20

                                                                         21

                                                                         22

                                                                         23

                                                                         24

                                                                         25

                                                                         26
                                                                         27

                                                                         28

                                                                                                                                     i
                                                                              DEFENDANT’S MOTION TO DISMISS                                                         2:20-CV-04064-RGK-SK
                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 3 of 23 Page ID #:75



                                                                          1                                           TABLE OF AUTHORITIES
                                                                          2                                                   Cases
                                                                          3 Ainsworth v. Penrod Drilling Co., 972 F.2d 546 (5th Cir. 1992) ............................. 13

                                                                          4 Ashcroft v. Iqbal, 556 U.S. 662 (2009) .................................................................. 6, 10

                                                                          5 Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)........................................................ 6

                                                                          6 Bonner v. Union Pac., 123 F. App’x 777 (9th Cir. 2005) ........................................... 9

                                                                          7 Chaparro v. Carnival Corp., 693 F.3d 1333 (11th Cir. 2012) .................................... 9

                                                                          8 Consolidated Rail Corp. v. Gottshall, 512 U.S. 532 (1994) ............................. 3, 8, 11

                                                                          9 Crawford v. Nat'l R.R. Passenger Corp., 2015 WL 8023680 (D. Conn. Dec. 4, 2015)
                                                                                      ........................................................................................................................... 9
                                                                         10
                                                                              CSX Transp., Inc. v. Hensley, 556 U.S. 838 (2009) .................................................. 10
MALTZMAN & PARTNERS




                                                                         11
                                                                              Duet v. Crosby Tugs, LLC, 2008 WL 5273688 (E.D. La. Dec. 16, 2008) ................ 13
                      TELEPHONE: (760) 942-9880 FAX: (760) 942-9882




                                                                         12
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                              Dunn v. Hatch, 792 F. App’x 449 (9th Cir. 2019) .................................................... 17
                                                                         13
                                   ENCINITAS, CA 92024




                                                                              Ellenwood v. Exxon Shipping, 795 F. Supp. 31 (D. Me. 1992)................................. 13
                                                                         14
                                                                              Exxon Shipping Co. v. Baker, 554 U.S. 471 (2008) .................................................. 19
                                                                         15
                                                                              Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749 (M.D.N.C. 2014) ................... 9, 11, 12
                                                                         16
                                                                              Goodrich v. Long Island Rail Rd. Co., 654 F.3d 190 (2d Cir. 2011) .......................... 9
                                                                         17
                                                                              Hutton v. Norwegian Cruise Line Ltd., 144 F.Supp.2d 1325 (S.D. Fla. 2001) ......... 11
                                                                         18
                                                                              Jerome B. Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527 (1995) .. 7
                                                                         19
                                                                              Martinez v. Bally’s Louisiana, Inc., 244 F.3d 474 (5th Cir. 2001) ........................... 13
                                                                         20
                                                                              Metro-North Commuter R. Co. v. Buckley, 521 U.S. 424 (1997) . 3, 7, 8, 9, 10, 11, 12
                                                                         21
                                                                              Miles v. Apex Marine Corp., 498 U.S. 19 (1986) ...................................................... 18
                                                                         22
                                                                              Naeyaert v. Kimberly-Clark Corp., 2018 WL 6380749 (C.D. Cal. Sept. 28, 2018) . 10
                                                                         23
                                                                              Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358 (S.D. Fla. 2018)............. 3, 9
                                                                         24
                                                                              Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135 (2003) .................. 3, 7, 8, 10, 11, 17, 19
                                                                         25
                                                                              Sawyer Bros., Inc. v. Island Transporter, LLC, 887 F.3d 23 (1st Cir. 2018)............ 11
                                                                         26
                                                                              Smith v. A.C. & S., Inc., 843 F.2d 854 (5th Cir.1988) ............................................... 10
                                                                         27
                                                                              Smith v. Carnival Corp., 584 F. Supp. 2d 1343 (S.D. Fla. 2008) ............................... 9
                                                                         28

                                                                                                                                              ii
                                                                              DEFENDANT’S MOTION TO DISMISS                                                                       2:20-CV-04064-RGK-SK
                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 4 of 23 Page ID #:76



                                                                          1 Smith v. Union Pac. R.R. Co., 236 F.3d 1168 (10th Cir.2000) ................................. 11

                                                                          2 Stacy v. Rederiet Otto Danielsen, A.S., 609 F.3d 1033 (9th Cir. 2010) ...................... 8

                                                                          3 Taghadomi v. United States, 401 F.3d 1080 (9th Cir. 2005) ...................................... 7

                                                                          4 Tassinari v. Key W. Water Tours, L.C., 480 F. Supp. 2d 1318 (S.D. Fla. 2007) ...... 13

                                                                          5 The Dutra Grp. v. Batterton, 139 S. Ct. 2275 (2019).................................... 17, 18, 19

                                                                          6 Wilkinson v. Carnival Cruise Lines, Inc., 920 F.2d 1560 (11th Cir. 1991) ................ 7

                                                                          7 Williams v. Carnival Cruise Lines, Inc., 907 F. Supp. 403 (S.D. Fla. 1995) ............ 13

                                                                          8 Williams v. United States, 711 F.2d 893 (9th Cir.1983) ............................................. 7

                                                                          9 Wyler v. Holland Am. Line-USA, Inc., 2002 WL 32098495 (W.D. Wash. Nov. 8,
                                                                                        2002) ................................................................................................................ 12
                                                                         10
                                                                                                                                         Statutes
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                                                                         11
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                                                                         12 46 U.S.C. §30303....................................................................................................... 19
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                         13                                                                Rules
                                   ENCINITAS, CA 92024




                                                                         14 Fed. Rule Civ Pro 12(b)(6) .................................................................................... 6, 17

                                                                         15 Fed. Rule Civ Pro 12(f) ............................................................................................. 17

                                                                         16 L.R. 7-3 ........................................................................................................................ 1

                                                                         17

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                                                                               DEFENDANT’S MOTION TO DISMISS                                                                     2:20-CV-04064-RGK-SK
                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 5 of 23 Page ID #:77



                                                                          1         Defendant, PRINCESS CRUISE LINES, LTD. (hereafter “Defendant” or
                                                                          2 “PRINCESS”), hereby files this Motion to Dismiss the Complaint filed by Plaintiffs

                                                                          3 herein. In the interests of judicial economy, the court is hereby advised that this

                                                                          4 motion is identical to Motions to Dismiss filed in the matter of Stanley Dachinger,

                                                                          5 et al. v. Princess Cruise Lines, Ltd., Case No. 2:20-cv-03847, in that both are

                                                                          6 premised on nearly identical Complaints, involve Plaintiffs who were aboard the

                                                                          7 same cruise, and involve a combination of Plaintiffs who never contracted COVID-

                                                                          8 19 (Francis Shay and Sandra Shay) and those who at some undisclosed time after

                                                                          9 their cruise tested positive for COVID-19 (Bruce Grant and Michelle Grant). None

                                                                         10 of the Plaintiffs allege having any symptoms of the virus, any substantial physical
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                                                                         11 manifestation to their emotional distress, nor any facts connecting Defendant’s
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                                                                         12 alleged conduct with their positive COVID-19 diagnosis. Other than a conclusory
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                                                                         13 allegation that Plaintiffs Bruce Grant and Michelle Grant “suffer from physical …
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                                                                         14 harm from the disease,” (Compl. ¶ 25), Plaintiffs allege only “emotional distress.”

                                                                         15 For the reasons set forth below, Plaintiffs’ Complaint should be dismissed.

                                                                         16         This motion is made following several conferences of counsel pursuant to
                                                                         17 L.R. 7-3 which took place between May 7, 2020 and June 1, 2020.

                                                                         18 I.      INTRODUCTION
                                                                         19         This is a tort case brought by Plaintiffs who make only a conclusory
                                                                         20 allegation of “physical … harm” (Compl. ¶ 25), and whose allegations of emotional

                                                                         21 harm are squarely foreclosed by established precedent. The Court should dismiss

                                                                         22 this case for failure to state a claim.

                                                                         23         Plaintiffs allege that they were among the thousands of passengers on the
                                                                         24 Grand Princess cruise ship who embarked on February 21, 2020. (Compl. ¶¶ 13,

                                                                         25 14.) Like the vast majority of those passengers, Plaintiffs do not allege that they

                                                                         26 suffered any physical symptoms of COVID-19. Plaintiffs’ claim, without
                                                                         27 explanation, that merely by virtue of being on the same cruise ship with some

                                                                         28 individuals that were on the prior cruise, they were at “actual risk of immediate

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                                                                              DEFENDANT’S MOTION TO DISMISS                                 2:20-CV-04064-RGK-SK
                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 6 of 23 Page ID #:78



                                                                          1 physical injury.” (Compl. ¶ 19.)      Plaintiffs’ Complaint is nearly identical to
                                                                          2 numerous complaints filed by the same Plaintiffs’ attorneys representing other

                                                                          3 passengers aboard this same cruise seeking emotional distress damages based only

                                                                          4 on a fear of contracting COVID-19. The sole difference between this Complaint and

                                                                          5 the form complaint Plaintiffs’ counsel filed in their pure “Fear of COVID-19” cases

                                                                          6 is the addition of a single passing mention that two of the Plaintiffs contracted

                                                                          7 COVID-19 at some unspecified time. But courts have held that a bare diagnosis,

                                                                          8 without any actual symptoms causing functional impairment, is not a cognizable

                                                                          9 physical harm sufficient to support a disease claim such as is alleged here. Nor does

                                                                         10 a mere diagnosis support a claim for emotional distress; courts hold that plaintiffs
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                                                                         11 must allege objectively serious physical manifestations of their claimed emotional
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                                                                         12 distress.
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                                                                         13         Plaintiffs Francis Shay and Sandra Shay ask this Court to recognize an
                                   ENCINITAS, CA 92024




                                                                         14 unprecedented theory of liability for emotional distress, unmoored from any

                                                                         15 physical harm, that is squarely foreclosed by Supreme Court precedent. Francis

                                                                         16 Shay and Sandra Shay seek damages for emotional distress from fear of contracting

                                                                         17 COVID-19 based solely on being aboard the same cruise ship along with

                                                                         18 approximately 3,700 other passengers and crew, some of whom could have

                                                                         19 interacted with individuals from the preceding cruise who were later diagnosed with

                                                                         20 COVID-19 after their cruise ended. (Compl. ¶ 18.) If accepted, Plaintiffs’ theory

                                                                         21 would open the door to open-ended liability for every business, school, church, and

                                                                         22 municipality across America, stalling economic recovery in the wake of the

                                                                         23 COVID-19 pandemic and complicating the ability of businesses to reopen. Plaintiffs

                                                                         24 Francis Shay and Sandra Shay are among over 125 individuals who have filed

                                                                         25 nearly identical lawsuits against Defendant, each seeking one million dollars in

                                                                         26 compensatory damages for emotional distress plus punitive damages based only on
                                                                         27 their fear that they could have contracted COVID-19. Significantly, Francis Shay

                                                                         28 and Sandra Shay do not claim to have contracted COVID-19, to have suffered any

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                                                                              DEFENDANT’S MOTION TO DISMISS                                 2:20-CV-04064-RGK-SK
                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 7 of 23 Page ID #:79



                                                                          1 symptoms of COVID-19, or even to have ever came into direct contact with the

                                                                          2 virus. The Supreme Court has squarely held that a plaintiff cannot recover for

                                                                          3 emotional distress stemming from potential exposure to a disease “unless, and until,

                                                                          4 he manifests symptoms of a disease.” Metro-North Commuter R. Co. v. Buckley,

                                                                          5 521 U.S. 424, 427 (1997). This rule applies to claims of emotional distress brought

                                                                          6 under federal maritime law. Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358

                                                                          7 (S.D. Fla. 2018). Supreme Court precedent thus requires dismissal here, because

                                                                          8 Plaintiffs Francis Shay and Sandra Shay do not claim to have either contracted

                                                                          9 COVID-19 or had sufficient symptoms of disease to establish to have contracted the

                                                                         10 virus as a result of Defendant’s conduct. The Supreme Court has consistently
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                                                                         11 reaffirmed this rule precisely to avoid the oppressive societal costs that would occur
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                                                                         12 if claims like Plaintiffs’ could go forward. As the Court has explained, “contacts,
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                                                                         13 even extensive contacts,” with potential carriers of diseases “are common.” Metro-
                                   ENCINITAS, CA 92024




                                                                         14 North, 521 U.S. at 434. And unlike with physical injury, “there are no necessary

                                                                         15 finite limits on the number of persons who might suffer emotional injury” as a result

                                                                         16 of fear of contracting an illness. Consolidated Rail Corp. v. Gottshall, 512 U.S. 532,

                                                                         17 546 (1994). If anyone potentially exposed to a contagion could obtain damages for

                                                                         18 emotional distress, “[t]he large number of those exposed and the uncertainties that

                                                                         19 may surround recovery” would prompt a “flood” of lawsuits, Metro-North, 521 U.S.

                                                                         20 at 434, and would lead to “the very real possibility of nearly infinite and

                                                                         21 unpredictable liability for defendants.” Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135,

                                                                         22 146 (2003).

                                                                         23         Similarly, allowing for liability based purely on a diagnosis of COVID-19 (as
                                                                         24 Plaintiffs’ Bruce Grant and Michelle Grant allege) without any allegation they ever

                                                                         25 suffered any symptoms of the virus and without casually connecting Plaintiffs’

                                                                         26 diagnosis to PRINCESS’ conduct would permit virtually all of the same harmful
                                                                         27 consequences. (See Consolidated Motion to Dismiss, D.E. 31, filed in Case No.

                                                                         28 2:20-CV-02267-RGK-SK). This is particularly important here when dealing with a

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                                                                              DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-04064-RGK-SK
                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 8 of 23 Page ID #:80



                                                                          1 virus which causes no symptoms whatsoever in a large percentage of the people

                                                                          2 who ultimately test positive for the virus. Even if Plaintiffs could recover for their

                                                                          3 diagnosis or their fear in theory, their Complaint does not plausibly allege facts to

                                                                          4 establish causation. In fact, Plaintiffs never even allege they contracted the disease

                                                                          5 on the vessel or as a result of PRINCESS’s conduct.

                                                                          6         A “flood” of COVID-19 lawsuits has already begun including over 30
                                                                          7 lawsuits just from this one cruise ship, with similar cases filed relating to passengers

                                                                          8 on other cruises and other vessels. And there is no reason to think the flood will

                                                                          9 abate. As of the date of filing this brief, approximately 2 million cases of COVID-19

                                                                         10 have been confirmed in the United States and approximately 7 million cases
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                                                                         11 worldwide.1 Given the millions of confirmed cases of COVID-19, it is inevitable
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                                                                         12 that thousands of schools, nursing homes, shopping centers, stadiums, parks, and
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                                                                         13 businesses across America have had cases on their premises. Plaintiffs’ claims
                                   ENCINITAS, CA 92024




                                                                         14 threaten the ability of businesses to reopen and for the economy to resume.

                                                                         15         A positive COVID-19 test result, without more, cannot be carte blanche to
                                                                         16 sue any business that had an infected individual patronize that business at some

                                                                         17 point in time in the past. To allow Plaintiffs Bruce Grant and Michelle Grant Stanley

                                                                         18 to bring such a claim without alleging they suffered any real harm and without any

                                                                         19 evidence establishing causation between their diagnosis and Defendant’s alleged

                                                                         20 conduct would forestall the economy’s reopening. This is especially troublesome

                                                                         21 considering the extent of asymptomatic cases where an individual tests positive for

                                                                         22 COVID-19 yet never exhibits symptoms. By allowing this case to go forward as

                                                                         23 pled, anyone with a positive COVID-19 test could pick the deepest pocket business

                                                                         24 they visited and claim they are entitled to millions of dollars in damages simply

                                                                         25 because another individual who later tested positive had been in the same area

                                                                         26 previously. Businesses cannot open if they are to be held liable to everyone who
                                                                         27
                                                                              1
                                                                             See Coronavirus Disease 2019 (COVID-19), Cases in the U.S., Centers for Disease Control and
                                                                         28 Prevention, https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.

                                                                                                                          4
                                                                              DEFENDANT’S MOTION TO DISMISS                                       2:20-CV-04064-RGK-SK
                                                                      Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 9 of 23 Page ID #:81



                                                                          1 visited their business and later tests positive for COVID-19.

                                                                          2         And if Plaintiffs Francis Shay and Sandra Shay’s theory of liability succeeds,
                                                                          3 then all of the millions of individuals who passed through those venues can similarly

                                                                          4 claim to have suffered emotional distress even if they never contracted the illness.

                                                                          5 Straightforward application of the Supreme Court’s rules governing these types of

                                                                          6 disease claims will prevent the cataclysmic result of allowing open-ended liability.

                                                                          7 The likelihood of endless liability for every business, church, school and other

                                                                          8 venue in America under Plaintiffs’ expansive theory is even more likely in the

                                                                          9 context of COVID-19, which is now known to be transmitted by asymptomatic

                                                                         10 individuals which no defendant could realistically detect with current testing
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                                                                         11 limitations. The Supreme Court’s limits on such claims are intended to avoid exactly
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                                                                         12 that result, and a straightforward application of those limits mandates dismissal.
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                                                                         13         Plaintiffs are seeking over $1 million each for emotional distress because they
                                   ENCINITAS, CA 92024




                                                                         14 feared they might contract COVID-19 (Francis Shay and Sandra Shay) or because

                                                                         15 they later tested positive for the virus (Bruce Grant and Michelle Grant). Courts

                                                                         16 require that a plaintiff experience symptoms of their contracted illness, and serious

                                                                         17 physical consequences from their emotional distress before allowing recovery for

                                                                         18 the damages alleged herein. None of the Plaintiffs here allege either.

                                                                         19         For Plaintiffs Francis Shay and Sandra Shay, there is also a second,
                                                                         20 independent barrier to Plaintiffs’ claims because in addition to requiring that a

                                                                         21 plaintiff contract the disease, courts further require that the plaintiff’s fear must give

                                                                         22 rise to serious physical consequences before emotional distress damages can be

                                                                         23 recovered. Mere anxiety or fear about their health is legally insufficient to support a

                                                                         24 claim for emotional distress in a fear of illness case. Francis Shay and Sandra Shay

                                                                         25 do not claim they ever contracted COVID-19, nor does they allege serious physical

                                                                         26 consequences stemming from their alleged emotional distress.
                                                                         27         Finally, Plaintiffs’ request for punitive damages is flatly insufficient under the
                                                                         28 strict standards governing punitive damages in maritime claims.

                                                                                                                         5
                                                                              DEFENDANT’S MOTION TO DISMISS                                     2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 10 of 23 Page ID #:82



                                                                       1         While evidence will ultimately show that Plaintiffs’ factual allegations against
                                                                       2 PRINCESS are inaccurate and misleading, even accepting the allegations as true for

                                                                       3 the purposes of this Motion, the Complaint makes clear that Plaintiffs’ claims fail to

                                                                       4 allege sufficient facts to state a claim and must be dismissed.

                                                                       5 II.     LEGAL STANDARD
                                                                       6         To survive a Rule 12(b)(6) motion, a complaint must allege “enough facts to
                                                                       7 state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

                                                                       8 U.S. 544, 570 (2007). “Factual allegations must be enough to raise a right to relief

                                                                       9 above the speculative level, … on the assumption that all the allegations in the

                                                                      10 complaint are true (even if doubtful in fact).” Id. at 555 (citations omitted). “The
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                                                                      11 plausibility standard “asks for more than a sheer possibility that a defendant has
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                                                                      12 acted unlawfully.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). “A pleading that
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                                                                      13 offers labels and conclusions or a formulaic recitation of the elements of a cause of
                                   ENCINITAS, CA 92024




                                                                      14 action will not do.” Id.

                                                                      15 III.    MEMORANDUM OF LAW
                                                                      16         Recognizing the potential for widespread liability in disease exposure cases,
                                                                      17 courts apply strict limits on such cases. The limits include the requirement that a

                                                                      18 plaintiff must suffer symptoms of the illness and must plausibly allege serious

                                                                      19 physical manifestations of their purported emotional distress.             Metro-North
                                                                      20 Commuter R. Co. v. Buckley, 521 U.S. 424, 427 (1997); Ainsworth v. Penrod

                                                                      21 Drilling Co., 972 F.2d 546 (5th Cir. 1992); Williams v. Carnival Cruise Lines, Inc.,

                                                                      22 907 F. Supp. 403, 407 (S.D. Fla. 1995). Plaintiffs have not plausibly alleged either

                                                                      23 and thus their case must be dismissed under Rule 12(b)(6). Further Plaintiffs’

                                                                      24 Complaint should be dismissed based on its failure to allege any facts showing

                                                                      25 Plaintiffs ever came into actual contract with the virus and on its failure to allege

                                                                      26 any facts establishing causation. The request for punitive damages should be
                                                                      27 dismissed or stricken as a matter of law under the facts alleged in this maritime

                                                                      28 action.

                                                                                                                     6
                                                                           DEFENDANT’S MOTION TO DISMISS                                    2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 11 of 23 Page ID #:83



                                                                       1       A. Federal Maritime Law Applies to Plaintiffs’ Claims
                                                                       2         As Plaintiffs acknowledge by invoking this Court’s maritime jurisdiction,
                                                                       3 Federal maritime law applies to Plaintiffs’ claims.2 (Compl. ¶ 3) Maritime law

                                                                       4 applies when “(1) the alleged wrong occurred on or over navigable waters, and (2)

                                                                       5 the wrong bears a significant relationship to traditional maritime activity.” Williams

                                                                       6 v. United States, 711 F.2d 893, 896 (9th Cir.1983). “‘[V]irtually every activity

                                                                       7 involving a vessel on navigable waters” is a “traditional maritime activity sufficient

                                                                       8 to invoke maritime jurisdiction.” See Taghadomi v. United States, 401 F.3d 1080,

                                                                       9 1087 (9th Cir. 2005) ((quoting Jerome B. Grubart, Inc. v. Great Lakes Dredge &

                                                                      10 Dock Co., 513 U.S. 527, 542 (1995))); Wilkinson v. Carnival Cruise Lines, Inc., 920
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                                                                      11 F.2d 1560, 1654 n. 10 (11th Cir. 1991) (when injury occurs aboard a ship upon
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                                                                      12 navigable waters, federal maritime law governs the substantive legal issues).
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13       B. Plaintiffs Cannot Recover for Emotional Distress
                                   ENCINITAS, CA 92024




                                                                      14
                                                                                     1. Plaintiffs Francis Shay and Sandra Shay’s Allegations Do Not
                                                                      15                Satisfy the Zone of Danger Test
                                                                      16         The Supreme Court has “sharply circumscribed” recovery under federal law
                                                                      17 for claims of emotional harm that are not “brought on by a physical injury or

                                                                      18 disease”—by requiring that the plaintiff be within the “zone of danger” of

                                                                      19 defendant’s allegedly negligent conduct. Ayers, 538 U.S. at 147 (2003). The

                                                                      20 Supreme Court in Metro-North set forth a narrow zone of danger test in cases

                                                                      21 involving exposure to a disease stating categorically that a plaintiff alleging

                                                                      22 emotional distress from such exposure “cannot recover unless, and until, he

                                                                      23 manifests symptoms of a disease.” 521 U.S. at 426-27. The Supreme Court has

                                                                      24 since reaffirmed Metro-North’s categorical rule, explaining in Ayers that “emotional

                                                                      25 distress damages may not be recovered” by “disease-free” plaintiffs. 538 U.S. at

                                                                      26 141. The Court specifically “decline[d] to blur, blend, or reconfigure” the “clear
                                                                      27   2
                                                                            Plaintiffs’ Passage Contract applicable to their voyage similarly invokes maritime law. See,
                                                                      28 https://www.princess.com/legal/passage_contract/plc.html at Section 1.

                                                                                                                        7
                                                                           DEFENDANT’S MOTION TO DISMISS                                         2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 12 of 23 Page ID #:84



                                                                       1 line” between “disease-free” plaintiffs, who cannot recover, and those “who suffer

                                                                       2 from a disease,” who can recover under certain conditions. Id.; see also id. at 146.

                                                                       3 The Court has also made clear that its rule applies not just to claims based on

                                                                       4 exposure to toxins like asbestos, but to any claim based on alleged exposure to a

                                                                       5 disease including “germ-laden air.” Metro-North, 521 U.S. at 437.

                                                                       6         Under the Supreme Court edict, mere exposure to a contagion—even a
                                                                       7 significant and substantial exposure—is insufficient to establish someone is within

                                                                       8 the required “zone of danger.” In Metro-North, the plaintiff’s employer had

                                                                       9 negligently exposed him to a “massive” and “tangible” amount of asbestos, placing

                                                                      10 him in direct, close contact with asbestos every day for a three-year period. Id. at
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                                                                      11 427. The plaintiff feared that this intense prolonged exposure increased his chances
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                                                                      12 of dying from cancer and introduced expert testimony supporting that his risk of
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 cancer had in fact increased. Id. The Supreme Court nonetheless held that the
                                   ENCINITAS, CA 92024




                                                                      14 plaintiff could not recover since exposure to the disease-causing substance alone

                                                                      15 was insufficient to establish emotional distress liability. Id. at 430 (quoting

                                                                      16 Gottshall, 512 U.S. at 547-48). The Court explained that if “a simple (though

                                                                      17 extensive) contact with a carcinogenic substance” were sufficient to permit

                                                                      18 recovery, it would not “offer much help in separating valid from invalid emotional

                                                                      19 distress claims.” Id. at 434. “Judges would be forced to make highly subjective

                                                                      20 determinations concerning the authenticity of claims for emotional injury, which are

                                                                      21 far less susceptible to objective medical proof than are their physical counterparts.”

                                                                      22 Gottshall, 512 U.S. at 552. The Supreme Court adopted the strict zone of danger

                                                                      23 test specifically to avoid “nearly infinite and unpredictable liability for defendants.”

                                                                      24 Ayers, 538 U.S. at 146 (2003) (quoting Gottshall, 512 U.S. at 546).

                                                                      25         Indeed, courts apply Metro-North specifically to dismiss cruise line passenger
                                                                      26 lawsuits.3 For instance, in Negron v. Celebrity Cruises, Inc., 360 F. Supp. 3d 1358
                                                                      27
                                                                         3
                                                                           The Ninth Circuit has expressly held that the test applies under federal maritime law. See Stacy
                                                                      28 v. Rederiet Otto Danielsen, A.S., 609 F.3d 1033, 1035 (9th Cir. 2010); see also, Chaparro v.

                                                                                                                          8
                                                                           DEFENDANT’S MOTION TO DISMISS                                           2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 13 of 23 Page ID #:85



                                                                       1 (S.D. Fla. 2018), a passenger and her family were disembarked to a hospital in

                                                                       2 Barbados and claimed that, while at the hospital, they were exposed to Ebola virus.

                                                                       3 Id. at 1360. The passengers were not allowed to return to the ship, which they claim

                                                                       4 added to their anxiety and they filed suit for “severe psychological damages,

                                                                       5 emotional distress, much personal discomfort, uncertainty, fear and lack of safety,”

                                                                       6 and “undue expenses and costs.” Id. Applying Metro-North, the Court dismissed

                                                                       7 their claim, holding the passengers cannot recover for emotional harm when they

                                                                       8 “do not specify any physical harm for which they seek recovery” and there were “no

                                                                       9 plausible allegations that the plaintiffs sustained a ‘physical impact’ merely by being

                                                                      10 sent to a hospital” which had Ebola-infected patients in the same hospital. Id. at
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                                                                      11 1362.      Under these principals, Plaintiffs Francis Shay and Sandra Shay cannot
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                                                                      12 satisfy the zone of danger test.4 They do not allege to have contracted COVID-19 as
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                                                                      13 a result of exposure on the Grand Princess. Nor do Plaintiffs allege any symptoms.
                                   ENCINITAS, CA 92024




                                                                      14 Indeed, Plaintiffs do not allege to have come into close contact with the disease

                                                                      15 aboard the ship to face even a possibility of contracting it. Rather, Francis Shay and

                                                                      16 Sandra Shay allege only that other passengers on their vessel were exposed to

                                                                      17 passengers who previously had disembarked and were later confirmed to be infected

                                                                      18 with COVID-19 and that they therefore feared getting the disease. (Compl. ¶ 18.)

                                                                      19 That is nowhere near sufficient under Metro-North, which, again, squarely holds

                                                                      20 that a plaintiff cannot recover “unless, and until, he manifests symptoms of a

                                                                      21
                                                                           Carnival Corp., 693 F.3d 1333, 1337-38 (11th Cir. 2012) (per curiam).
                                                                      22   4
                                                                             Even setting aside Metro-North’s categorical rule, Plaintiffs still would not have stated a claim
                                                                      23   under the zone of danger test. Federal courts routinely dismiss emotional distress claims when the
                                                                           plaintiff has not plausibly alleged that he actually suffered a physical impact or faced an imminent
                                                                      24   threat of physical harm. See, e.g., Bonner v. Union Pac., 123 F. App’x 777, 778 (9th Cir. 2005);
                                                                           Smith v. Carnival Corp., 584 F. Supp. 2d 1343, 1355 (S.D. Fla. 2008); Crawford v. Nat'l R.R.
                                                                      25   Passenger Corp., No. 3:15-CV-131 (JBA), 2015 WL 8023680, at *12 (D. Conn. Dec. 4, 2015);
                                                                           Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 759 (M.D.N.C. 2014); see also, e.g., Goodrich v.
                                                                      26
                                                                           Long Island Rail Rd. Co., 654 F.3d 190, 199 (2d Cir. 2011) (affirming dismissal of IIED claim
                                                                      27   where no allegation that plaintiff was in zone of danger). Plaintiffs clearly have not claimed any
                                                                           “physical impact”; again, it is black-letter law that an exposure to a source of disease is not a
                                                                      28   “physical impact” under Supreme Court precedent. Metro-North, 521 U.S. at 430.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                              2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 14 of 23 Page ID #:86



                                                                       1 disease.” 521 U.S. at 427.5

                                                                       2          Nor has Francis Shay and Sandra Shay plausibly alleged an “immediate risk
                                                                       3 of physical harm.” The bare assertion of being “at actual risk of immediate physical

                                                                       4 injury,” is precisely the sort of “[t]hreadbare recital [] of the elements of a cause of

                                                                       5 action” that cannot defeat a motion to dismiss. Ashcroft v. Iqbal, (2009) 556 U.S.

                                                                       6 662, 678. And even if exposure alone could create an “actual risk” under the zone

                                                                       7 of danger test—and it cannot—Plaintiffs fail to even allege ever coming into direct

                                                                       8 contact with COVID-19 and they allege no potential route of transmission.6

                                                                       9 Plaintiffs’ failure to allege direct exposure makes the claim doubly deficient under

                                                                      10 Metro-North. The plaintiff in Metro-North had been consistently and intensely
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                                                                      11 exposed to asbestos daily basis for a three-year period, and still the Court foreclosed
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                                                                      12 recovery. Metro-North, 521 U.S. at 427. Plaintiffs allege nothing of the sort here.
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                                                                      13          Moreover, now that the window of potentially contracting COVID-19 has
                                   ENCINITAS, CA 92024




                                                                      14 long passed, Francis Shay and Sandra Shay’s claim must fail because a plaintiff may

                                                                      15 not pursue a claim for earlier emotional distress if “at the time the court reviews a

                                                                      16 claim” the plaintiff can no longer reasonably fear contracting the disease due to

                                                                      17 defendant’s conduct. Naeyaert v. Kimberly-Clark Corp., 2018 WL 6380749, at *8

                                                                      18 (C.D. Cal. Sept. 28, 2018). This rule, consistent with the zone of danger test, ensures

                                                                      19 that only those whose fears manifest in the form of an actual diagnosis can recover,

                                                                      20 in the interest of preventing a “flood” of cases inherently “less susceptible to

                                                                      21
                                                                           5
                                                                      22     Even if Plaintiffs had alleged symptoms, Plaintiffs would still face an independent bar to show
                                                                           that the fear of contracting COVID-19 was “genuine and serious”—something beyond “general
                                                                      23   concern for [one’s] future health.” Ayers, 538 U.S. at 157-58 (quoting Smith v. A.C. & S., Inc., 843
                                                                           F.2d 854, 859 (5th Cir.1988)); see CSX Transp., Inc. v. Hensley, 556 U.S. 838 (2009) (plaintiffs
                                                                      24   seeking fear-of-disease damages “must satisfy a high standard in order to obtain them”).
                                                                           6
                                                                      25      There are 649 cities in California with populations smaller than the 3,700-person population of
                                                                           the Grand Princess. (See https://www.california-demographics.com/cities_by_population). If
                                                                      26   Plaintiffs’ allegation that merely being in the same population of 3,700 people is sufficient to
                                                                           satisfy the zone of danger requirement, then anyone who lived in any of those 649 cities could
                                                                      27   become subject to emotional distress liability whenever they invited anyone onto their premises if
                                                                           it was later discovered someone else in the town had COVID-19.
                                                                      28

                                                                                                                           10
                                                                           DEFENDANT’S MOTION TO DISMISS                                              2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 15 of 23 Page ID #:87



                                                                       1 objective medical proof than are their physical counterparts.” Gottshall, 512 U.S. at

                                                                       2 552.

                                                                       3          The Supreme Court in adopting the zone of danger test emphasized that it
                                                                       4 would allow recovery for “emotional injury caused by the apprehension of physical

                                                                       5 impact.” Gottshall, 512 U.S. at 556. And in subsequently describing the test, it has

                                                                       6 equated being “placed in immediate risk of physical harm” with “escap[ing] instant

                                                                       7 physical harm.” Ayers, 538 U.S. at 146. Expanding the category of “immediate risk”

                                                                       8 to cover alleged exposure to a communicable disease which the Plaintiffs did not

                                                                       9 contract would be unprecedented. Because Plaintiffs were not within the zone of

                                                                      10 danger7 under Metro-North, Francis Shay and Sandra Shay’s allegations of
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                                                                      11 emotional distress, no matter how severe, are insufficient to survive a Motion to
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                                                                      12 Dismiss.8
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                                                                      13          Metro-North’s zone of danger test governs all species of tort claims seeking
                                   ENCINITAS, CA 92024




                                                                      14 emotional distress, whether or not styled as claims of “negligent infliction of

                                                                      15 emotional distress” or otherwise. See Smith v. Union Pac. R.R. Co., 236 F.3d 1168,

                                                                      16 1171 (10th Cir.2000) (Metro-North and Gottshall “focused on whether emotional

                                                                      17 injuries were generally compensable under FELA, rather than upon the specific

                                                                      18

                                                                      19
                                                                           7
                                                                             Cases that do find an immediate risk of harm provide a helpful contrast to Plaintiffs’ inadequate
                                                                           claims here. These cases involve “threatened physical contact that caused, or might have caused,
                                                                      20   immediate traumatic harm.” Metro-North, 521 U.S. at 430 (emphasis added) (collecting cases);
                                                                           see, e.g., Stacy, 609 F.3d at 1035 (freighter nearly struck plaintiff’s vessel and then struck another
                                                                      21   ship, killing its captain); Sawyer Bros., Inc. v. Island Transporter, LLC, 887 F.3d 23, 39 (1st Cir.
                                                                           2018) (plaintiffs were aboard ferry that nearly capsized); In re Clearsky Shipping Corp., No. Civ.
                                                                      22   96-4099, 2002 WL 31496659, *1 (E.D. La. Nov. 7, 2002) (plaintiff was aboard a docked casino
                                                                      23   boat as a vessel collided with nearby wharf); Hutton v. Norwegian Cruise Line Ltd., 144
                                                                           F.Supp.2d 1325 (S.D. Fla. 2001) (plaintiffs aboard ship that collided with another vessel).
                                                                      24   8
                                                                             In Gottshall, one of the plaintiffs had suffered “insomnia, headaches, depression, and weight
                                                                      25   loss,” followed by a “nervous breakdown.” 512 U.S. at 539. The other had experienced “nausea,
                                                                           insomnia, cold sweats, and repetitive nightmares,” plus weight loss, anxiety, and suicidal
                                                                      26   ideations. Id. at 536-37. The Supreme Court held that even these significant emotional injuries
                                                                           were not compensable because they did not stem from either a physical impact or a near-miss
                                                                      27   physical impact—i.e., neither plaintiff was in the zone of danger. Indeed, even extremely grave
                                                                           physical results cannot be redressed unless the plaintiff was in the zone of danger. Fulk v. Norfolk
                                                                      28   S. Ry. Co., 35 F. Supp. 3d 749, 757 (M.D.N.C. 2014) (no recovery for “self-inflicted gunshot

                                                                                                                            11
                                                                           DEFENDANT’S MOTION TO DISMISS                                                2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 16 of 23 Page ID #:88



                                                                       1 cause of action.”); Fulk v. Norfolk S. Ry. Co., 35 F. Supp. 3d 749, 755 (M.D.N.C.

                                                                       2 2014) (“Federal courts have consistently applied the zone of danger test to all stand-

                                                                       3 alone emotional distress claims.”).

                                                                       4          2.     To Recover for Emotional Distress Plaintiffs Bruce Grant and
                                                                       5                 Michelle Grant Must Allege Symptoms

                                                                       6          For the period before Plaintiffs Bruce Grant and Michelle Grant’s diagnosis,
                                                                       7 recovery for emotional distress is barred.            Under the Supreme Court’s decision
                                                                       8 in Metro-North, a plaintiff alleging emotional distress from such exposure “cannot

                                                                       9 recover unless, and until, he manifests symptoms of a disease.” Metro-North

                                                                      10 Commuter R. Co. v. Buckley, 521 U.S. 424, 427 (1997). The Supreme Court’s hard-

                                                                      11 and-fast rule from Metro-North, precluding a plaintiff’s recovery for emotional
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                                                                      12 distress claims “unless, and until, he manifests symptoms of a disease,” forecloses
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                                                                      13 any recovery for harm caused prior to their alleged contraction of COVID-19. 521
                                   ENCINITAS, CA 92024




                                                                      14 U.S. at 427.

                                                                      15          3.     To Recover for Emotional Distress All Plaintiffs Must Plausibly
                                                                                         Allege a Physical Manifestation of the Claimed Distress
                                                                      16

                                                                      17          For the period after Plaintiffs Bruce Grant and Michelle Grant’s alleged
                                                                      18 diagnosis, and for the entirety of Plaintiff Francis Shay and Sandra Shay’s claim,

                                                                      19 recovery for emotional distress is barred because there is no alleged physical

                                                                      20 manifestation of the claimed distress. Only emotional distress that causes non-trivial

                                                                      21 physical consequences is compensable. A positive COVID-19 test result, in and of

                                                                      22 itself, is not legally sufficient to support a claim for emotional distress. Rather,

                                                                      23 courts require that emotional distress must cause non-trivial physical consequences.

                                                                      24 In other words, “[g]eneral maritime law requires an ‘objective manifestation’ of the

                                                                      25 emotional injury—a physical injury or effect which arises from the emotional

                                                                      26 injury.” Wyler v. Holland Am. Line-USA, Inc., 2002 WL 32098495, at *1 (W.D.
                                                                      27 Wash. Nov. 8, 2002); accord Martinez v. Bally’s Louisiana, Inc., 244 F.3d 474, 477-

                                                                      28
                                                                           wound” because plaintiff was never in zone of danger).
                                                                                                                          12
                                                                           DEFENDANT’S MOTION TO DISMISS                                      2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 17 of 23 Page ID #:89



                                                                       1 478 (5th Cir. 2001); Duet v. Crosby Tugs, LLC, 2008 WL 5273688, at *3 (E.D. La.

                                                                       2 Dec. 16, 2008) (“Plaintiff’s emotional distress was not provoked by a physical

                                                                       3 injury, rather, plaintiff’s physical injury was provoked by emotional distress”);

                                                                       4 Tassinari v. Key W. Water Tours, L.C., 480 F. Supp. 2d 1318, 1325 (S.D. Fla. 2007)

                                                                       5 (“[S]tand-alone claims for negligent infliction of emotional distress require a

                                                                       6 physical manifestation of emotional injury.”). Courts impose this physical-

                                                                       7 manifestation requirement because it “furnishes a ‘guarantee of genuineness’ thus

                                                                       8 limiting the prospects for a flood of fraudulent claims.” Williams v. Carnival Cruise

                                                                       9 Lines, Inc., 907 F. Supp. 403, 407 (S.D. Fla. 1995); see also Tassinari, 480 F. Supp.

                                                                      10 2d at 1325 (S.D. Fla. 2007) (citing “the beneficial public policy of placing an
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                                                                      11 objective and easily applied restriction on frivolous claims”).
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                                                                      12         Under this rule, minor physical consequences are not sufficient. See, e.g.,
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                                                                      13 Williams, 907 F. Supp. At 407 (plaintiffs could not recover even though they were
                                   ENCINITAS, CA 92024




                                                                      14 in the zone of danger because they “complain[ed] only of fear and/or seasickness

                                                                      15 which in most cases lasted no more than a few days”); Ainsworth v. Penrod Drilling

                                                                      16 Co., 972 F.2d 546 (5th Cir. 1992) (barring recovery for emotional distress where the

                                                                      17 plaintiff suffered “trivial” injuries such as upset stomach, headache, and pulled

                                                                      18 muscles); Ellenwood v. Exxon Shipping, 795 F. Supp. 31, 35 (D. Me. 1992) (loss of

                                                                      19 sleep and loss of appetite insufficient). Here, Plaintiffs’ Complaint contains no

                                                                      20 allegation of any physical manifestations of emotional distress for any of the

                                                                      21 Plaintiffs, let alone the serious and significant physical manifestation which is

                                                                      22 required. Plaintiffs’ allegations that they “suffer from emotional distress” is exactly

                                                                      23 the sorts of generalized allegations of fear and anxiety that courts have held are

                                                                      24 clearly insufficient to support a claim for emotional distress. Supra; see, e.g.,

                                                                      25 Williams 907 F. Supp. at 407. This failure to allege a physical manifestation also

                                                                      26 provides an independent reason why Plaintiffs Bruce Grant and Michelle Grant
                                                                      27 cannot recover for the period before their diagnosis. Even if they had adequately

                                                                      28 pled that they contracted COVID-19 as a result of Defendant’s conduct, their

                                                                                                                   13
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 18 of 23 Page ID #:90



                                                                       1 emotional-distress claims would nonetheless fail for the separate reason that they

                                                                       2 have not pled a physical manifestation of their emotional distress.

                                                                       3         Similarly, Plaintiffs cannot recover (even following Bruce Grant and Michelle
                                                                       4 Grant’s alleged diagnosis) because they have not alleged any “genuine and serious”

                                                                       5 manifestation of actual, physical symptoms. Norfolk & W. Ry. Co. v. Ayers, 538

                                                                       6 U.S. 135, 157-58 (2003) (quoting Smith v. A.C. & S., Inc., 843 F.2d 854, 859 (5th

                                                                       7 Cir.1988)). As explained below, courts do not allow recovery based on mere

                                                                       8 diagnoses absent some sort of concrete, “functional impairment.” This rule is

                                                                       9 necessary to avoid an anomalous, arbitrary result where a plaintiff might be able to

                                                                      10 recover for the fear of something that, if it came to pass, he could not actually
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                                                                      11 recover for as a physical harm.
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                                                                      12      C. Plaintiffs Cannot Recover for Fear or Even a Mere Diagnosis, Without
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                                                                      13         More, as a “Physical Harm”
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                                                                      14      None of the Plaintiffs allege any non-emotional injury other than a conclusory
                                                                      15 statement that Plaintiffs Bruce Grant and Michelle Grant “suffer from physical …

                                                                      16 harm from the disease,” (Compl. ¶ 25.). Simply adding the words “physical harm” is

                                                                      17 insufficient to support Plaintiffs’ Complaint.

                                                                      18         Many persons who test positive for COVID-19 are asymptomatic. Courts
                                                                      19 reject claims of physical injury based only on positive tests for asymptomatic

                                                                      20 diseases. Rather, a plaintiff claiming “compensable harm” from a disease must

                                                                      21 “adduc[e] objective testimony of a functional impairment.” In re Hawaii Fed.

                                                                      22 Asbestos Cases, 734 F. Supp. 1563, 1567 (D. Haw. 1990) (emphasis added); See

                                                                      23 e.g., Sheridan v. Cabot Corp., 113 F. App’x 444, 448 (3d Cir. 2004) (“asymptomatic

                                                                      24 pleural thickening is not a sufficient physical injury to warrant damages”); Sondag

                                                                      25 v. Pneumo Abex Corp., 55 N.E.3d 1259, 1265 (Ill. App. Ct. 2016) (“To qualify as

                                                                      26 ‘physical harm,’ the alteration of the body must have a detrimental effect in a more
                                                                      27 practical   sense, such     as by    causing     noticeable respiratory   symptoms”)
                                                                      28 (citing Ackison v. Anchor Packing Co., 120 Ohio St.3d 228, 897 N.E.2d 1118, 1125

                                                                                                                   14
                                                                           DEFENDANT’S MOTION TO DISMISS                                  2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 19 of 23 Page ID #:91



                                                                       1 (2008); Giffear v. Johns-Manville Corp. (Pa. Super. Ct. 1993) 429 Pa.Super. 327,

                                                                       2 340 [632 A.2d 880, 887-88], aff'd sub nom. Simmons v. Pacor, Inc. (1996) 543 Pa.

                                                                       3 664 [674 A.2d 232] (asymptomatic contraction of an illness is not a legally

                                                                       4 compensable injury); Owens–Illinois v. Armstrong, 87 Md.App. 699, 591 A.2d 544,

                                                                       5 561 (1991), aff'd in part and rev'd in part on other grounds, 326 Md. 107, 604 A.2d

                                                                       6 47 (1992); Restatement (Third) of Torts: Liability for Physical and Emotional Harm

                                                                       7 § 4, Reporters’ Note to cmt. c, at 59–60 (2010). Plaintiffs cannot recover negligence

                                                                       8 or gross negligence without alleging physical harm.

                                                                       9          A COVID-19 diagnosis, without more, is not in itself a compensable physical
                                                                      10 harm. It is now accepted that most individuals who contract COVID-19 never
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                                                                      11 experience symptoms.9 And the complaint contains no allegation of any actual
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                                                                      12 impairment due to the alleged diagnoses. Treating a positive test result with nothing
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                                                                      13 more as a “physical harm” worth $1 million in compensatory damages, plus punitive
                                   ENCINITAS, CA 92024




                                                                      14 damages, expands tort liability in the same unlimited and unpredictable way as

                                                                      15 allowing claims for pure emotional distress.

                                                                      16       D. Plaintiffs Have Not Plausibly Alleged Causation
                                                                      17
                                                                               All of the Plaintiffs claims fail because they do not state any facts suggesting that
                                                                      18
                                                                           any conduct by Defendant was the factual or proximate cause of their positive
                                                                      19
                                                                           diagnosis or fear. As pled, the Complaint makes it impossible to determine if even
                                                                      20
                                                                           those Plaintiffs who caught the virus contracted it onboard versus before
                                                                      21
                                                                           embarkation, at some port of call, during their post-cruise government managed
                                                                      22
                                                                           transportation or quarantine, or elsewhere. As such, Plaintiffs’ claims should be
                                                                      23
                                                                           dismissed.
                                                                      24
                                                                                  Nowhere in the Complaint do Plaintiffs allege they contracted COVID-19 or
                                                                      25
                                                                           experienced symptoms of the virus on the vessel (or at all). Plaintiffs do not allege
                                                                      26
                                                                      27
                                                                          Plaintiffs’ Complaint itself acknowledges this fact, noting the rate of positive cases “especially
                                                                           9

                                                                      28 among those without symptoms…” (Compl. at pg. 3.)

                                                                                                                          15
                                                                           DEFENDANT’S MOTION TO DISMISS                                            2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 20 of 23 Page ID #:92



                                                                       1 experiencing any specific physical injury or any ensuing sequelae related to

                                                                       2 COVID-19. (Compl. ¶ 25.) They have not alleged that they were sick on the vessel,

                                                                       3 that they were diagnosed with COVID-19 on the vessel, or even that the virus

                                                                       4 entered their bodies on the vessel. Plaintiffs conspicuously fail to assert that they

                                                                       5 came into direct contact with any passengers or crew who had COVID-19. Given

                                                                       6 that millions of people have tested positive for COVID-19, alleging causation

                                                                       7 requires more than simply saying they were aboard Defendant’s vessel and then

                                                                       8 either feared or contracted COVID-19 on some unspecified date thereafter.

                                                                       9      E. Finding Plaintiffs’ Claims Sufficient Would Invite the Exact Policy
                                                                      10         Consequences the Supreme Court Cautioned Against
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                                                                      11         Finding Plaintiffs’ claims sufficient would invite the exact harsh policy
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                                                                      12 consequences the Supreme Court warned against. See Metro-North Commuter R.
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 Co. v. Buckley, 521 U.S. 424 (1997); Consolidated Rail Corp. v. Gottshall, 512 U.S.
                                   ENCINITAS, CA 92024




                                                                      14 532 (1994); Norfolk & W. Ry. Co. v. Ayers, 538 U.S. 135 (2003). COVID-19 is a

                                                                      15 widespread pandemic, and is now well-known to be transmittable through airborne

                                                                      16 droplets. Any business, school, church or other venue alleged to have opened its

                                                                      17 doors a day too soon could be exposed to claims of emotional distress from anyone

                                                                      18 who stepped inside and then later tested positive for COVID-19 or feared

                                                                      19 contracting COVID-219, regardless of whether the individual alleges they came into

                                                                      20 contact with the virus at that establishment. Additionally, if a plaintiff can recover

                                                                      21 for emotional distress based on only a fear of exposure to a widespread disease like

                                                                      22 COVID-19 or for testing positive for the virus but having no symptoms, there will

                                                                      23 be no limit on who can recover in the wake of the pandemic. This concern is even

                                                                      24 more significant in relation to a widespread and often undetectable disease like

                                                                      25 COVID-19. Airline travel and public transportation will prove impossible.

                                                                      26 Individuals who test positive after they attend a football game, transit through an
                                                                      27 airport, eat at a restaurant, or shop at a mall or store will have carte blanche to sue

                                                                      28 whoever has the deepest pockets based only on having been at a venue where

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                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 21 of 23 Page ID #:93



                                                                       1 someone later is found to have tested positive for COVID-19. Allowing Plaintiffs’

                                                                       2 claims to proceed as pled, in other words, endorses the “nearly infinite and

                                                                       3 unpredictable liability for defendants” that Gottshall and Metro-North expressly set

                                                                       4 out to prevent.10 Ayers, 538 U.S. at 146.

                                                                       5        F. Plaintiffs’ Claims for Punitive Damages Are Foreclosed as a Matter of
                                                                       6           Law and Should be Dismissed or Stricken

                                                                       7          Finally, even if Plaintiffs’ claims could go forward on the merits, their claims
                                                                       8 for punitive damages are foreclosed as a matter of law and should therefore be

                                                                       9 dismissed under Rule 12(b)(6) or stricken under Rule 12(f).

                                                                      10          The Supreme Court has recently clarified several important limitations on the
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                                                                      11 availability of punitive damages in maritime cases, all of which make clear that
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                                                                      12 punitive damages are unavailable in cases alleging only emotional distress—at least
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                                                                      13 where that distress is not intentionally inflicted. In The Dutra Group v. Batterton,
                                   ENCINITAS, CA 92024




                                                                      14 139 S. Ct. 2275 (2019), the Supreme Court set forth a framework for deciding when

                                                                      15 punitive damages are available under general maritime law, and then applied that

                                                                      16 framework to hold that punitive damages are unavailable in claims for

                                                                      17 unseaworthiness. First, where there is no federal statute authorizing punitive

                                                                      18 damages, courts must determine “whether punitive damages have traditionally been

                                                                      19 awarded” in the category of case at issue. Id. at 2283. If they are not, then the

                                                                      20 imposition of punitive damages is precluded. See Dunn v. Hatch, 792 F. App’x 449,

                                                                      21 451 (9th Cir. 2019) (Batterton “held that punitive damages cannot be recovered on

                                                                      22 claims in admiralty where there is no historical basis for allowing such damages”).

                                                                      23 If the imposition of punitive damages would create “bizarre disparities in the law,”

                                                                      24

                                                                      25    A “fundamental interest of federal maritime jurisdiction” is “the protection of maritime
                                                                           10

                                                                         commerce.” The Dutra Grp. v. Batterton, 139 S. Ct. 2275, 2287 (2019) (quotation marks omitted).
                                                                      26
                                                                         The Supreme Court has urged courts to resist judicial expansions of maritime liability and
                                                                      27 remedies that would “frustrate” this protective purpose. Id. Allowing unpredictable and potentially
                                                                         crushing liability for ocean carriers in the wake of a pandemic would so seriously inhibit maritime
                                                                      28 commerce that principles of maritime law would independently require dismissal.

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                                                                           DEFENDANT’S MOTION TO DISMISS                                            2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 22 of 23 Page ID #:94



                                                                       1 that further counsels against their availability. Batterton, 139 S. Ct. at 2287. And in

                                                                       2 determining whether to permit punitive damages, courts must proceed “cautiously in

                                                                       3 light of Congress’s persistent pursuit of uniformity in the exercise of admiralty

                                                                       4 jurisdiction.” Id. at 2278 (Miles v. Apex Marine Corp., 498 U.S. 19, 27 (1986)).

                                                                       5         Defendant is aware of no binding precedent supporting the imposition of
                                                                       6 punitive damages for negligently (even grossly negligently) inflicted emotional

                                                                       7 distress or harm to a passenger. To the contrary, any “tradition” of punitive damages

                                                                       8 in maritime cases is limited to cases where the defendant’s conduct is truly

                                                                       9 “outrageous”—cases of “enormity or deplorable behavior.” Dunn, 792 F. App’x at

                                                                      10 452. And some courts have held expressly that punitive damages are unavailable to
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                                                                      11 “personal injury claimants … except in exceptional circumstances involving
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                                                                      12 crewmembers such as willful failure to furnish maintenance and cure to an injured
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 or ill seaman (who are viewed as special wards of the court requiring additional
                                   ENCINITAS, CA 92024




                                                                      14 protection) and in those very rare situations of intentional wrongdoing.” In re

                                                                      15 Amtrak Sunset Ltd. Train Crash in Bayou Canot, Ala. on Sept. 22, 1993, 121 F.3d

                                                                      16 1421, 1429 (11th Cir. 1997). As in Batterton, the absence of case law supporting the

                                                                      17 availability of punitive damages in suits for negligently inflicted emotional distress

                                                                      18 or harm “is practically dispositive.” Id. at 2284.

                                                                      19         But even if the history of punitive damages under maritime law were more
                                                                      20 equivocal (which it is not), the imposition of punitive damages here would create the

                                                                      21 same “bizarre disparit[y] in the law” that demanded foreclosure of punitive damages

                                                                      22 in Batterton. The Court there noted that, if punitives were permitted for

                                                                      23 unseaworthiness claims, “a mariner could make a claim for punitive damages if he

                                                                      24 was injured onboard a ship, but,” because of the Court’s prior decision in Miles, “his

                                                                      25 estate would lose the right to seek punitive damages if he died from his injuries.”

                                                                      26 139 S. Ct. at 2287 (emphasis added). The same disjoint would occur here, as the
                                                                      27 Death on the High Seas Act (“DOHSA”) expressly forbids the imposition of

                                                                      28 punitive damages for deaths caused by incidents more than three miles offshore.

                                                                                                                    18
                                                                           DEFENDANT’S MOTION TO DISMISS                                   2:20-CV-04064-RGK-SK
                                                             Case 2:20-cv-04064-RGK-SK Document 20-1 Filed 06/09/20 Page 23 of 23 Page ID #:95



                                                                       1 See 46 U.S.C. § 30303 (allowing damages only for “pecuniary loss”); Batterton, 139

                                                                       2 S. Ct. at 2285 n.8. Under Plaintiffs’ novel theory, passengers alleging exposure to a

                                                                       3 disease on the high seas can freely recover punitive damages if they never

                                                                       4 contracted the disease or if they got a positive test result for COVID-19 with no

                                                                       5 symptoms, and yet, if those same passengers died from the disease, DOHSA would

                                                                       6 squarely bar their claim for punitive damages. To avoid that arbitrary differential

                                                                       7 treatment, and to properly “pursue the policy expressed in congressional

                                                                       8 enactments” like DOHSA, punitive damages must be foreclosed. Id. at 2281.

                                                                       9          The policies at play further cement that punitive damages cannot be available.
                                                                      10 To the extent that liability alone did not create the “infinite and unpredictable
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                                                                      11 liability,” Ayers, 538 U.S. at 146, the “stark unpredictability of punitive awards,”
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                                                                      12 Exxon Shipping Co. v. Baker, 554 U.S. 471, 499 (2008), would make that threat an
                           681 ENCINITAS BOULEVARD, SUITE 315




                                                                      13 unavoidable reality.11 In turn, the open-ended threat of punitive damages would
                                   ENCINITAS, CA 92024




                                                                      14 encourage more cases and hobble “maritime commerce”—the “fundamental interest

                                                                      15 served by federal maritime jurisdiction.” Batterton, 139 S. Ct. at 2287.

                                                                      16 V.       CONCLUSION
                                                                      17          For the foregoing reasons, Defendant requests that the Court grant its motion
                                                                      18 to dismiss and to dismiss this case.

                                                                      19
                                                                           DATED: June 9, 2020                         MALTZMAN & PARTNERS
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                                                                      21
                                                                                                               By:     s/ Jeffrey B. Maltzman
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                                                                                                                       Attorneys for Defendant,
                                                                      25
                                                                                                                       Princess Cruise Lines Ltd.
                                                                      26
                                                                           Even if punitive damages were available, the Supreme Court has held that “under maritime law,
                                                                           11

                                                                      27 the maximum ratio of punitive damages to compensatory damages is 1-1.” Exxon Valdez v. Exxon
                                                                         Mobil, 568 F.3d 1077, 1079 (9th Cir. 2009). If this Court does not dismiss or strike the request for
                                                                      28 punitive damages altogether, the Court should limit Plaintiffs’ damages accordingly.

                                                                                                                          19
                                                                           DEFENDANT’S MOTION TO DISMISS                                             2:20-CV-04064-RGK-SK
